         Case 6:19-cv-00637-ADA Document 8 Filed 11/27/19 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

VIRCO MFG. CORP.,

       Plaintiff,

v.                                           No. 6:19-cv-00637-ADA

MOORECO, INC.,

       Defendant.

         DEFENANT’S UNOPPOSED MOTION FOR EXTENSION OF
            TIME TO RESPOND TO PLAINTIFF’S COMPLAINT

      Before this Court is Plaintiff Virco Manufacturing Corp.’s Original

Complaint, filed on October 31, 2019 (Dkt. 1), served on Defendant MooreCo, Inc.,

on November 7, 2019 (Dkt. 6). Defendant’s deadline to answer, or otherwise

respond, is December 2, 2019, with this Court’s closure on November 28 and 29,

2019, and the intervening weekend. Defendant has requested and Plaintiff has

approved Defendant’s request for a forty-five (45) day extension to respond to

Plaintiff’s complaint, calculated from November 28, 2019, which is twenty-one (21)

days after the service date of the complaint. The agreed upon response date is

January 13, 2020. Defendant therefore moves this Court for an extension to

January 13, 2020, to file an answer, or otherwise respond, to Plaintiff’s complaint.

A proposed order is provided.
 Case 6:19-cv-00637-ADA Document 8 Filed 11/27/19 Page 2 of 3




Dated: November 27, 2019           Respectfully submitted,

OF COUNSEL:                        By: /s/ Peter J. Corcoran III
                                   Peter J. Corcoran III
Robert Scheffel                    TX Bar No. 24080038
Matthew J. Dowd                    CORCORAN IP LAW PLLC
Dowd Scheffel PLLC                 4142 McKnight Road
1717 Pennsylvania Avenue, NW       Texarkana, TX 75503
Suite 1025                         T: (903) 701-2481
Washington, D.C. 20006             F: (844) 362-3291
T: (202) 559-9175                  peter@corcoranip.com
rscheffel@dowdscheffel.com
mdowd@dowdscheffel.com             Counsel for Defendant
                                   MOORECO, INC.




                               2
         Case 6:19-cv-00637-ADA Document 8 Filed 11/27/19 Page 3 of 3




                            CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of November, 2019, I electronically filed

the foregoing with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to the following:

       John R. Sigety
       Hiersche Hayward Drakeley & Urbach, PC
       15303 N. Dallas Pkwy, Ste 700
       Addison, TX 75001
       972-701-7000
       Fax: 972-701-8765
       Email: jsigety@krcl.com

       Michael A. Logan
       Kane Russell Coleman Logan PC
       901 Main Street
       Suite 5200
       Dallas, TX 75202
       (214) 777-4294
       Fax: 214/777-4299
       Email: mlogan@krcl.com

       Bruce C. Morris
       Kane Russell Coleman & Logan PC
       Galleria Tower II, 10th Floor
       5051 Westheimer Road
       Houston, TX 77056
       713-425-7450
       Email: bmorris@krcl.com

                                                /s/ Peter J. Corcoran III
                                                Peter J. Corcoran III
